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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)         ‫ ܆‬Original      ‫ ܆‬Duplicate Original


                              UNITED STATES DISTRICT COURT
                                                         for the
                                                                                                              4/29/2022
                                             Central District of California
                                                                                                                    JB
 United States of America

                 v.
                                                                   Case No.     2:22-mj-01686-DUTY
 WADE JAMAL RICHARDSON,
                                                                                                                         FILED
                 Defendant.                                                                                   CLERK, U.S. DISTRICT COURT



                                                                                                               APRIL 29, 2022
                           CRIMINAL COMPLAINT BY TELEPHONE                                                 CENTRAL DISTRICT OF CALIFORNIA

                          OR OTHER RELIABLE ELECTRONIC MEANS                                                 BY:    AF          DEPUTY




         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of April 28, 2022, in the county of Los Angeles in the Central District of California, the

defendant violated:

           Code Section                                            Offense Description

           18 U.S.C. § 922(g)(1)                                   Felon in Possession of a Firearm

         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.

                                                                                  /s/ Thomas J. Vasquez
                                                                                 Complainant’s signature

                                                                        Thomas J. Vasquez, FPS Special Agent
                                                                                     Printed name and title



 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:             April 29, 2022
                                                                                       Judge’s signature

 City and state: Los Angeles, California                               Hon. Alka Sagar, U.S. Magistrate Judge
                                                                                     Printed name and title

AUSA: Julia Hu (x3802)
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                               AFFIDAVIT
     I, Thomas Vasquez, being duly sworn, declare and state as

follows:

                         PURPOSE OF AFFIDAVIT

     1.    This affidavit is made in support of a criminal

complaint and arrest warrant against WADE JAMAL RICHARDSON

(“RICHARDSON”) for a violation of 18 U.S.C. § 922(g)(1): Felon

in Possession of a Firearm.

     2.    The facts set forth in this affidavit are based upon

my personal observations; my training and experience; and

information obtained from various law enforcement personnel and

witnesses.   This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant and does not purport to set forth all of my

knowledge of or investigation into this matter.         Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and part only.

                        BACKGROUND OF AFFIANT

     3.    I am a Special Agent with the United States Department

of Homeland Security, Federal Protective Service (“FPS”).          I

have been in this position since August 2017.        From 2013 to July

2017, I was an FPS uniformed law enforcement officer.          In that

position, I conducted various preliminary investigations

including persons in possession of firearms.        As part of my

official duties, I investigate crimes against the United States




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that originate on United States government property, including

prohibited persons in possession of a firearm.

     4.   I have completed two basic training courses at the

Federal Law Enforcement Training Center in Glynco, Georgia,

which included training in the investigation of various crimes

including prohibited persons in possession of a firearm.

                      SUMMARY OF PROBABLE CAUSE

     5.   On April 18, 2022, RICHARDSON threatened a Social

Security Administration Protective Security Officer that he

would “blow your brains out” when he told RICHARDSON that he had

to wear a mask in the building.       On April 20, 2020, I went to

his residence in South El Monte, California to interview him

about that incident.     When I asked whether he had firearms in

the residence, RICHARDSON replied, “somewhere in here,” before

later denying he had a firearm.

     6.   On April 28, 2022, I and other law enforcement

officers executed a federal search warrant at RICHARDSON’s

residence and found a Forjas Taurus, Model GZs, 9mm caliber

handgun, bearing serial number TLT69579, loaded with eight

rounds of ammunition, in a purple bag next to RICHARDSON’s bed

and nightstand.    Inside the nightstand were an additional 58

rounds of various caliber ammunition.

     7.   RICHARDSON has four prior felony convictions,

including a prior conviction for being a felon in possession of

a firearm.
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                      STATEMENT OF PROBABLE CAUSE

     8.    Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

     A.    RICHARDSON Threatened to “Blow the Brains” Out of an
           SSA Protective Security Officer

     9.    On April 18, 2022, RICHARDSON visited the El Monte,

California Social Security Administration Office (“El Monte SSA

Office”) located at 9351 Telstar Avenue in El Monte, California

to inquire about an overpayment.

     10.   Surveillance video shows RICHARDSON arriving at the El

Monte SSA Office in a white 2011 Buick Lucerne, bearing

California license plate number FR134DP, with a female

companion, later identified as L.S.

     11.   According to a law enforcement report and written

statements by witnesses and as depicted in surveillance video,

RICHARDSON attempted to enter the lobby of the SSA Office

without a facemask, which led to an altercation with A.C., as

detailed below:

           a.     A.C., who is a Protective Security Officer

employed by Paragon Systems assisting officers and employees of

the El Monte SSA Office, was performing his official duties in

monitoring the lobby.    A.C. provided RICHARDSON with a facemask.

           b.     RICHARDSON rejected the facemask and told A.C.

that he did not want it because he believed that A.C. had

grabbed the sanitized area of the facemask “with his dirty

hands.”
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              c.     A.C. instructed RICHARDSON to wait in line.

RICHARDSON became disorderly and began cursing at A.C.

              d.     RICHARDSON threw the facemask on the floor and

told A.C. if he could not be seen, nobody would and positioned

himself and his wheelchair in front of the lobby door.

        12.   A.C. called the El Monte Police Department.      While

A.C. was waiting for El Monte Police to arrive, RICHARDSON

continued to yell at A.C.

        13.   RICHARDSON eventually wheeled away from the lobby

door.    According to witness statements by A.C. and bystander

D.T., RICHARDSON yelled to A.C. that he was going to come back

and “blow your brains out.”       In my training and experience, a

threat to blow someone’s brains out implies the use of a

firearm.

        14.   RICHARDSON got into the Buick Lucerne and drove off.

        B.    Interview with RICHARDSON on April 20, 2022

        15.   On April 20, 2022, I went to RICHARDSON’s Residence on

Kale Street in South El Monte, California (“Kale Street

Residence”) to conduct a non-custodial interview with

RICHARDSON.        California Department of Motor Vehicles records

showed that RICHARDSON reported the Kale Street Residence as his

address and that the Buick Lucerne was registered to him there.

        16.   L.S. answered the door to the Kale Street Residence.

RICHARDSON was sitting on his bed in his bedroom when we arrived

with the door open.       I approached RICHARDSON and displayed my

credentials.       I asked RICHARDSON whether he had firearms at the
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Kale Street Residence, and RICHARDSON replied, “somewhere in

here.”

     17.     I conducted a recorded interview of RICHARDSON in the

living room.    RICHARDSON confirmed that he was living at the

Kale Street Residence.

     18.     RICHARDSON confirmed that he went to the El Monte SSA

Office on April 18, 2022.     RICHARDSON initially said that he did

not remember what happened after the initial altercation with

A.C. about the facemask.     Later, when I asked him whether he

told A.C. that he was going to “blow his brains out,” RICHARDSON

said that he was “mad talking” and “if [he] said something to

the man it was out of anger and frustration.”        Eventually,

RICHARDSON said, “yeah, I probably did.”

     19.     Toward the end of the interview, when asked where the

firearms were in the Kale Street Residence, RICHARDSON said that

he did not have any firearms and said that he thought that I was

asking earlier if he had any weapons in the residence and that

he had a knife in his backpack.      I do not recall seeing a

backpack in either the living room or bedroom of the Kale Street

Residence.

     20.     RICHARDSON did not consent to a search of the Kale

Street Residence.    RICHARDSON consented to a search of the Buick

Lucerne, but no weapons or contraband was found.

     C.      Execution of Search Warrant for the Kale Street
             Residence

     21. On April 27, 2022, the Honorable Gail Standish, United

States Magistrate Judge for the Central District of California,
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issued search warrants for the Kale Street Residence and

RICHARDSON’s person.     Case Nos. 22-MJ-1667 & 22-MJ-1668.

     22. On April 28, 2022, I, along with other law enforcement

officers, went to the Kale Street Residence to execute the

search warrants.    RICHARDSON and L.S. were present.        The

residence had two bedrooms.

     23. We entered RICHARDSON’s bedroom to search it.             I knew

the bedroom belonged to RICHARDSON based on the fact that I saw

him sitting on the left side of the bed in the same bedroom on

both visits to his residence.      RICHARDSON also had prescription

pill bottles in his name on a nightstand on the left side of the

bed in the bedroom.

     24. The same nightstand also contained documents bearing

RICHARDSON’s name, such as a Visa debit card and an East Beverly

High School Diploma.

     25. Near or in RICHARDSON’s nightstand, we found the

following:

           a.   In a purple bag immediately next to the

nightstand, a Forjas Taurus, Model GZs, 9mm caliber handgun,

bearing serial number TLT69579.      The firearm was loaded with a

magazine containing seven rounds of 9mm caliber hollow-point

ammunition and one round of 9mm caliber ammunition in the

chamber.   The purple bag contained miscellaneous items,

including medical supplies.

           b.   Behind the nightstand on the floor, a 9mm

magazine that was loaded with seven rounds of 9mm caliber

ammunition.
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           c.     In a drawer of the nightstand, in addition to the

items bearing RICHARDSON’s name described above, an empty 13-

round magazine as well as the following ammunition:

                  i.    Six rounds of 9mm caliber ammunition;

                  ii.   Three rounds of 40mm caliber ammunition;

                  iii. 20 rounds of .380 automatic caliber

ammunition;

                  iv.   19 rounds of .38 special caliber ammunition;

                  v.    Ten rounds of .223 caliber ammunition.

     D.    RICHARDSON’s Criminal History

     26.   According to a Superior Court of California, County of

Los Angeles Probation Officer’s report, RICHARDSON is a

documented member of the Grape Street Watts Gang.

     27.      On April 19, 2022, I reviewed California Law

Enforcement Telecommunications System records for RICHARDSON and

learned that RICHARDSON has previously been convicted of the

following felony crimes, each punishable by a term of

imprisonment exceeding one year:

           a.     Possession of Controlled Substances, in violation

of California Health & Safety Code § 11350(a), in the Superior

Court for the State of California, County of Los Angeles, Case

Number TA06261801, on or about November 21, 2001;

           b.     Felon in Possession of a Firearm, in violation of

California Penal Code § 12021(a)(1), in the Superior Court for

the State of California, County of Los Angeles, Case Number

VA07456801, on or about January 22, 2003;
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          c.    Transportation of Phencyclidine, in violation of

California Health & Safety Code § 11379.5(a), in the Superior

Court for the State of California, County of Los Angeles, Case

Number TA06976901, on or about May 14, 2003;

          d.     Arson, in violation of California Penal Code

§ 451(d), in the Superior Court for the State of California,

County of Los Angeles, Case Number TA113007, on or about

February 28, 2011; and

          e.    Threatening Crime with Intent to Terrorize, in

violation of California Penal Code § 422, in the Superior Court

for the State of California, County of Los Angeles, Case Number

TA113007, on or about February 28, 2011.

     E.   Interstate Nexus

     28. On April 28, 2022, an ATF Interstate Nexus Expert

examined the Taurus handgun and confirmed that the handgun was

manufactured outside of the State of California.          Because the
handgun was found in California, I believe that it has traveled

in and affected interstate commerce.

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                                CONCLUSION

      29. For all of the reasons described above, there is

probable cause to believe that RICHARDSON has committed a

violation of 18 U.S.C. § 922(g)(1): Felon in Possession of a

Firearm.



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
                  29th
telephone on this _____ day of
April, 2022


HONORABLE ALKA SAGAR
UNITED STATES MAGISTRATE JUDGE
